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                               UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO




    Gary L. Merchant,
                                                           Case No. 1:17-cv-524-BLW
                           Plaintiff,
                                                           LITIGATION ORDER AND NOTICE
    v.                                                     OF TELEPHONIC SCHEDULING
                                                           CONFERENCE
    Corizon, LLC, et al,

                           Defendants.



         THEREFORE IT IS HEREBY ORDERED AS FOLLOWS:

1.       Plaintiff(s) must serve this Order on all parties who have not entered an

appearance via PACER to date. Within thirty days of the filing of the Complaint, the

Plaintiff(s) must file with the Court a status report regarding service of the summons and

complaint pursuant to Dist. Idaho L. Rule 4.1.1 Alternatively, Plaintiff(s) may file proof

of service in lieu of the status report otherwise required.



1
 The Court’s local rules may be found at the following URL address:
http://id.uscourts.gov/clerks/rules_orders/Civil_Local_Rules.cfm


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2.      Pursuant to Dist. Idaho L. Rule 16.1, the parties must meet and determine:

        A.       A litigation plan and a discovery plan, including the issues related to

discovery of electronically stored information, if either party contemplates such

discovery. The Court’s litigation plan form and the discovery plan form may be found on

the District Court’s website, www.id.uscourts.gov, under Forms.2

        B.       If the case is suitable for the Court’s alternative dispute resolution (ADR)

program, which type of ADR process is best suited to the specific circumstances of the

case, and when the most appropriate time would be for the ADR session to be held. Dist.

Idaho L. Rule 16.4.

3.      Initial disclosures must be made by the parties pursuant to Federal Rule of Civil

Procedure 26.1 and Dist. Idaho L. Rule 16.1.

4.      If this matter is assigned to a magistrate judge, Counsel must review and be

familiar with Dist. Idaho L. Rule 73.1 regarding the consent process for proceeding

before a magistrate judge. Additional Information about the consent process may be

found on the Court’s website.3

5.      Unless the Plaintiff contacts the Courtroom Deputy, Jamie Bracke, and requests a

different date and time, the Court will conduct a telephonic scheduling conference on




2
  The URL address to access the Court’s forms may be found here:
http://id.uscourts.gov/district/forms_fees_rules/Civil_Forms.cfm
3
 Information about the consent process may be found at the following URL address:
http://www.id.uscourts.gov/district/judges/Magistrate_Judge_Consent.cfm


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June 4, 2018, at 1:30 p.m. mountain time, for purpose of confirming the deadlines

proposed by the parties in the joint Litigation Plan.

6.     Plaintiff must initiate the conference call by placing it to (208) 334-9145 and must

have all appropriate parties on the line.

7.     On or before May 29, 2018, the parties must file with the Court the joint

Litigation Plan and Discovery Plan.


                                                  DATED: April 11, 2018


                                                  _________________________
                                                  B. Lynn Winmill
                                                  Chief Judge
                                                  United States District Court




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